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 4
                              UNITED STATES DISTRICT COURT
 5
                         SOUTHERN DISTRICT OF CALIFORNIA
 6

 7 UNITED STATES OF AMERICA,
                                                      Case No.: 15-CR-0042-JLS-2
 8
                               Plaintiff,
 9                                                    ORDER AND JUDGMENT TO
                                                      DISMISS WITHOUT
10          v.                                        PREJUDICE
11 MARIA ALEXJANDRA PALACIOS (2),

12

13                             Defendant.
14

15          Upon motion of the United States of America and good cause appearing,
16          IT IS HEREBY ORDERED that the Information in the above-entitled case be
17 dismissed without prejudice as to Maria Alexjandra Palacios, Defendant No. 2.

18          IT IS SO ORDERED.
19 DATED: January 28, 2015

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                                                 HONORABLE BERNARD G. SKOMAL
                                                 United States Magistrate Judge
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